     Case 2:15-cv-04326-MWF-JEM Document 12 Filed 08/31/15 Page 1 of 2 Page ID #:89




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 7
      LOS ANGELES WATERKEEPER
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 9
                              UNITED STATES DISTRICT COURT
10                           CENTRAL DISTRICT OF CALIFORNIA
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      LOS ANGELES WATERKEEPER, a                       Civil Case No. 15-cv-04326 MWF-JEM
12    California non-profit corporation,
13                                                     REQUEST FOR ENTRY OF
                       Plaintiff,                      DEFAULT JUDGMENT
14          vs.
15
      A AND A METAL RECYCLING, INC., a
16    California corporation; SINDY CARDONA,           (Federal Water Pollution Control Act,
17    an individual;                                   33 U.S.C. §§ 1251 et seq.)
                      Defendants.
18
19          TO: THE CLEARK OF THE ABOVE-ENTITLED COURT
20          Plaintiff Los Angeles Waterkeeper (“Waterkeeper” or “Plaintiff”) hereby requests
21    that the Clerk of the above-entitled court enter default in this matter against defendants A
22    and A Metal Recycling, Inc. and Sindy Cardona (collectively “Defendants”) on the
23    ground that each Defendant has failed to appear or otherwise respond to the complaint
24    within the time prescribed by the Federal Rules of Civil Procedure. On June 8, 2015,
25    Plaintiff filed a complaint against A and A Metal Recycling, Inc. and Sindy Cardona in
26    the United States District Court, Central District of California. On July 17, 2015 Plaintiff
27    served the summons and complaint on Defendants as evidenced by the proof of services
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      Request to Enter Default                         Civil Case No. 15-cv-04326 MWF-JEM
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     Case 2:15-cv-04326-MWF-JEM Document 12 Filed 08/31/15 Page 2 of 2 Page ID #:90




 1    of summons on file with the court. See ECF Dkt. Nos. 10, 11. Defendants’ responsive
 2    pleadings were due August 7, 2015. See id. Where as of the date of the filing of this
 3    request, Defendants have not responded to the complaint.
 4          The above stated facts are set forth in the accompanying declaration of Drevet
 5    Hunt in Support of the Request for Entry, filed herewith.
 6
 7    Dated: August 31, 2015                       Respectfully submitted,
 8                                                 LAWYERS FOR CLEAN WATER, INC.
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10                                                       /s/ Drevet Hunt
11                                                 Drevet Hunt
                                                   Attorney for Plaintiff
12                                                 Los Angeles Waterkeeper
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      Request to Enter Default                         Civil Case No. 15-cv-04326 MWF-JEM
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